                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1-09-CR-7
v.                                                  )
                                                    )       JUDGE COLLIER
PHILLIP KELLY                                       )       MAGISTRATE JUDGE LEE
GLEN BELL                                           )


                               MEMORANDUM & ORDER
                             ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, the arraignment
of the above named defendants on the superseding indictment returned by the Grand Jury, was
held before the undersigned on March 9, 2009.

       Those present for the hearing included:

               (1) AUSA Chris Poole for the USA.
               (2) The defendant, PHILLIP KELLY.
               (3) Atty. Aubrey Harper for defendant Kelly
               (4) The defendant, GLEN BELL.
               (5) Atty. Mary Ellen Coleman for defendant Bell.
               (6) Courtroom Deputy Kelli Jones.

        After being sworn in due form of law, the defendants were informed or reminded of their
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution.

        The defendants acknowledged having been provided with a copy of the indictment. The
defendants both waived a formal reading of the indictment and both defendants entered not guilty
pleas to each count of the indictment.

      Presently, the case is assigned the dates set forth in a separate Modified Discovery and
Scheduling Order.


       ENTER.

       Dated: March 9, 2009                         s/William B. Mitchell Carter
                                                    UNITED STATES MAGISTRATE JUDGE




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